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UNTEED SUATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
JUDGE RICHARD PL MATSCH

Miseelaneous Action No. 96-Y-203

In re Special Grand Jury 89-2

PETITIONER KENNETH E. PECK’S AMENDED MOTION FOR
EXTENSION OF TIME TO FILE A REPLY BRIEF

Former Grand Jurer Kenneth E. Peek. by and through his attorney. hereby moves
this Court for an Order granting him an extension of time. through and including
Wednesday. July 18. 2007. in which to file his reply to the Government's brief in this
matter. As grounds for granting this Motion. the Petitioner states:

1. fhe Government filed its brief in this matter on or about June 1, 2007,

2. Due to problems with the computer filing svstem. counsel has been unable

to obtain a copy of the Government's briel.

4. The Government's attorney. John dlaried. agreed to send a hard copy of
his brie! to undersigned counsel.

4, The paralegal for undersigned counsel has communicated with Mr. Harted
and informed him that. as of today. we have not yet received a copy of his
brief.

3. Complicating matters further, undersigned counsel's computer crashed

today. which has prohibited her from obtaining access to her Word

program,
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6, The Petitioner. Kenneth F. Peck. will be severely prejudiced if this Motion
is not granted.
7. Undersigned counsel has attempted ta contact opposing counsel. John
Haried. but has been unable to do so.
WHEREFORE. the Petitioner. Kenneth EL. Peck. through counsel. hereby
moves this Court to enter an Order granting him an extension of time. through and
including Wednesday. July 18. 2007. in which to file his reply brief.

Date: June 25. 2007,

Respectfully submitted.

BUSHEL. & PECK. LLC.
(Original signature on file at the
few firm of Bushell & Peck, LLC.)

'SiBRITEOK. BUSHELL
Bette K. Bushell

To
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CERETICATE OF SERVICL

eertify that | mailed a copy of the attached Petitioner Kenneth L. Peck’s
Amended Motion for Extension of Time to File a Reply Brief on June 25, 2007 to the
following persons:

Roy EID. ESO.

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US ATTORNEYS FOR THE DISTRICT OF COLORADO
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DENVER. COLORADO 80202

VIR. JONATHAN TURLEY

GEORGE WASHINGTON LNIVERSEEY
2000 TH STREE EL NW,
WASHINGTON. D.C. 20052

BUSHELL & PECK. L.L.C.
(Original signature on file at the
law firm of Bushell & Peek, LLC

Berek. BUSHEL
Bette K. Bushell

‘aed
